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                                    ETHAN D. THOMAS, ESQ., Bar No. 12874
                                2   STEVEN J.T. WASHINGTON, ESQ., Bar No. 14298
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                                           swashington@littler.com
                                7
                                    Attorneys for Defendant
                                8   DAL GLOBAL SERVICES, LLC,
                                    aka DELTA GLOBAL SERVICES
                                9

                               10                               UNITED STATES DISTRICT COURT
                               11
                                                                       DISTRICT OF NEVADA
                               12

                               13
                                    HIRAM JOHNSON,                                    Case No. 3:21-cv-00441-LRH-CLB
                               14
                                                   Plaintiff,                         STIPULATION TO EXTEND TIME FOR
                               15                                                     DEFENDANTS TO FILE RESPONSIVE
                                    v.                                                PLEADING
                               16
                                    DAL GLOBAL SERVICES, LLC, aka                     [FIRST REQUEST]
                               17   DELTA GLOBAL SERVICES,
                               18                  Defendant.
                               19

                               20          Pursuant to LR IA 6-1 and LR 7-1, Plaintiff HIRAM JOHNSON (“Plaintiff”) and Defendant

                               21   DAL GLOBAL SERVICES, LLC aka DELTA GLOBAL SERVICES (“Defendant”) by and

                               22   through their undersigned counsel, hereby agree and stipulate to extend the time for Defendant to

                               23   file a responsive pleading from the current deadline of October 29, 2021, up to and including

                               24   November 19, 2021.

                               25          Such extension is necessary in light of the fact that Defendant’s counsel was only recently

                               26   retained. The additional time will allow defense counsel to continue to investigate the allegations

                               27   in the Complaint and prepare a sufficient responsive pleading.

                               28   ///
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                                    Case 3:21-cv-00441-LRH-CLB Document 5 Filed 10/26/21 Page 2 of 2



                               1            This is the first request for an extension of time to respond to the Complaint. This request

                               2   is made in good faith and not for the purpose of delay.

                               3 Dated: October 26, 2021                          Dated: October 26, 2021

                               4 Respectfully submitted,                          Respectfully submitted,
                               5

                               6   /s/ Terri Keyser-Cooper                         /s/ Steven J.T. Washington
                                   TERRI KEYSER-COOPER, ESQ.                       RICK D. ROSKELLEY, ESQ.
                               7   LAW OFFICES OF TERRI KEYSER-                    ETHAN D. THOMAS, ESQ.
                                   COOPER                                          STEVEN J.T. WASHINGTON, ESQ.
                               8                                                   LITTLER MENDELSON, P.C.
                                   Attorney for Plaintiff
                               9   HIRAM JOHNSON                                  Attorneys for Defendants
                                                                                  DAL GLOBAL SERVICES, LLC,
                         10                                                       aka DELTA GLOBAL SERVICES
                         11

                         12                                                       IT IS SO ORDERED.

                         13                                                                      October 26
                                                                                         Dated: _____________________, 2021.
                         14

                         15
                                                                                         ____________________________________
                         16                                                              UNITED STATES MAGISTRATE JUDGE
                         17
                                   4857-2377-7280.1 / 111197-1023
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